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                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

In re:                                                        ) Chapter 11
                                                              )
YUETING JIA,1                                                 ) Case No.: 19-12220 (KBO)
                                                              )
                                      Debtor.                 )

         NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
       NOVEMBER 5, 2019 AT 2:30 P.M. (PREVAILING EASTERN TIME), BEFORE
     THE HONORABLE KAREN B. OWENS AT THE UNITED STATES BANKRUPTCY
        COURT FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH
               MARKET STREET, 6TH FLOOR, COURTROOM NO. 2,
                       WILMINGTON, DELAWARE 198012


                     THIS HEARING HAS BEEN CANCELLED BY THE COURT
                      AS NO MATTERS ARE SCHEDULED TO GO FORWARD.



CONTINUED MATTERS:

1.         Debtor’s Motion for Entry of an Order (I) Scheduling Combined Hearing on (A)
           Disclosure Statement, (B) Prepetition Solicitation Procedures, and (C) Confirmation of
           Prepackaged Plan; (II) Fixing Deadline to Object to Prepackaged Plan and Disclosure
           Statement; (III) Approving Form and Manner of Notice of Combined Hearing and
           Objection Deadline; (IV) Conditionally Canceling Meeting of Creditors; and
           (IV) Granting Related Relief [Filed: 10/20/19] (Docket No. 38)

           Response Deadline: October 29, 2019, at 4:00 p.m. (extended until November 8, 2019 at
           4:00 p.m. for the Office of the United States Trustee (the “UST”) and the Official
           Committee of Unsecured Creditors (the “Committee”))

           Responses Received:

           a.       Shanghai Lan Cai Asset Management Co, LTD.’s (1) Objection to the Debtor’s
                    Motion for Entry of an Order (I) Scheduling Combined Hearing on (A) Disclosure
                    Statement, (B) Prepetition Solicitation Procedures, and (C) Confirmation of
                    Prepackaged Plan; (II) Fixing Deadline to Object to Prepackaged Plan and

1
    The last four digits of the Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
    Marguerite Drive, Rancho Palos Verdes, CA 90275.
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    Any party who wishes to attend telephonically is required to make arrangements through CourtCall by telephone
    (866-582-6878) or by facsimile (866-533-2946).


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                 Disclosure Statement; (III) Approving Form and Manner of Notice of Combined
                 Hearing and Objection Deadline; (IV) Conditionally Canceling Meeting of
                 Creditors; and (V) Granting Related Relief, and (2) Request for Status Conference
                 Pursuant to 11 U.S.C. § 105(d) to Address Consideration of Dismissal or Transfer
                 of Venue of Case [Filed: 10/29/19] (Docket No. 60)

        b.       Informal comments from the UST

        c.       Informal comments from the Committee

        Related Documents:

        a.       [Proposed] Order (I) Scheduling Combined Hearing on (A) Disclosure Statement,
                 (B) Prepetition Solicitation Procedures, and (C) Confirmation of Prepackaged
                 Plan; (II) Fixing Deadline to Object to Prepackaged Plan and Disclosure
                 Statement; (III) Approving Form and Manner of Notice of Combined Hearing and
                 Objection Deadline; (IV) Conditionally Canceling Meeting of Creditors; and
                 (IV) Granting Related Relief [Filed: 10/20/19] (Docket No. 38, Exhibit A)

        Status: This matter is continued until November 15, 2019, at 10:00 a.m.

2.      Debtor’s Motion for an Order (I) Establishing Claim Bar Dates for Filing Prepetition
        Claims and (II) Approving the Form and Manner of Notice Thereof [Filed: 10/20/19]
        (Docket No. 39)

        Response Deadline: October 29, 2019, at 4:00 p.m. (extended until November 8, 2019 at
        4:00 p.m. for the Office of the UST and the Committee)

        Responses Received:

        a.       Informal comments from the UST

        b.       Informal comments from the Committee

        Related Documents:

        a.       [Proposed] Order (I) Establishing Claim Bar Dates for Filing Prepetition Claims
                 and (II) Approving the Form and Manner of Notice Thereof [Filed: 10/20/19]
                 (Docket No. 39)




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        Status: This matter is continued until November 15, 2019, at 10:00 a.m.


 Dated: November 1, 2019                      PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ James E. O’Neill
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                                              Jeffrey W. Dulberg (CA Bar No. 181200)
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                                              Proposed Attorneys for Debtor and Debtor in
                                              Possession




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